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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 21-20110-CR-MGC


 UNITED STATES OF AMERICA

 v.

 GLORIA YANETTE JIMENEZ,

                 Defendant.
 ________________________________/


                                            FACTUAL PROFFER

              The United States of America and Gloria Yanette Jimenez (“Defendant” or “JIMENEZ”)

      agree that had this case gone to trial, the United States would have proven the following facts,

      among others, beyond a reasonable doubt:

              Beginning in or around at least December 2015 and continuing through in or around at

      least April 2017, in Miami-Dade County, in the Southern District of Florida, and elsewhere,

      JIMENEZ knowingly and willfully combined, conspired, confederated, and agreed with others, to

      commit health care fraud, in violation of Title 18, United States Code, Section 1347, and wire

      fraud, in violation of Title 18, United States Code, Section 1343, all in violation of Title 18, United

      States Code, Section 1349.       Specifically, JIMENEZ conspired with others, to submit, via

      interstate wire, false and fraudulent claims to a health care benefit program.

             American Airlines, A&T, Coca Cola, Archer Western Construction, Lewis Tree Service,

      and Comcast, among others (“the Companies”), offered Administrative Services Only (“ASO”)

      insurance plans to their employees. These employers contracted with the insurance companies

      Blue Cross Blue Shield (“BCBS”), United Healthcare (“United”), Aetna (“Aetna”), and Cigna

      (“Cigna”) to handle the administrative tasks such as billing, claims handling, and claims payment
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   with respect to claims submitted on behalf of their employees. These ASO insurance plans

   reimbursed BCBS, United, Aetna, and Cigna for the money the insurance companies paid out for

   health benefits for their respective employees. As such, the employers acted in a self-insured role,

   which means that they were financially responsible for any ciaim payments io their employees.

   The ASO insurance plans offered by the Companies and managed by BCBS, United, Aetna, and

   Cigna were health care benefit programs, as defined in Title 18, United States Code, Section

   24(b).

            United Medical of South Florida, d/b/a Sleep Study of South Florida, Inc. (“Sleep Study”),

   was a Florida corporation, located at 14750 SW 26th Street, Suite 213, Miami, Florida 33185.

   Sleep Study was a medical clinic that purportedly provided commercial private insurance

   beneficiaries with various medical treatments and services, including sleep studies, durable

   medical equipment, and physical therapy, among others. JIMENEZ and her co-conspirators paid

   kickbacks to beneficiaries with insurance plans managed by United in exchange for allowing Sleep

   Study to bill for medical benefits, items, and services that were not medically necessary, not

   eligible for reimbursement, and not received by the beneficiaries. In furtherance of the fraud

   scheme, Sleep Study submitted the fraudulent claims via interstate wire communications.

            At all relevant times, JIMENEZ was employed by American Airlines. United insured

   JIMENEZ through an ASO insurance plan offered by American Airlines. JIMENEZ recruited

   patients to go to Sleep Study in exchange for money.

            JIMENEZ, through Sleep Study, knowingly and willfully submitted and caused the

   submission of $431,596.30 in claims.      These claims falsely and fraudulently represented that

   various health care benefits, items, and services were medically necessary, prescribed by a doctor,

   and had been provided by Sleep Study to insurance beneficiaries. As a result of such false and



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   fraudulent claims, United made payments to the corporate bank accounts of Sleep Study in the

   amount of at least S29,892.22.

           The above-detailed facts are corroborated by, among other things, insurance claims and

   billing data, bank records, and business records, as well as miormation obtained through

   cooperating co-conspirators and other witnesses.

           The information contained in this proffer is not a complete recitation of all the facts and

   circumstances of this case, but the parties admit it is sufficient to prove beyond a reasonable doubt

   a violation of Title 18, United States Code, Section 1349, that, is, Conspiracy to Commit Health

   Care Fraud and Wire Fraud, as charged in the Indictment.

                                                 JUAN ANTONIO GONZALEZ
                                                 ACTING UNITED STATES ATTORNEY

   Date:   March 31,2022
                                                 LINDSEY LJ^ZO/’OULOS FRIEDMAN
                                                 ASSISTANT UNITED STATES ATTORNEY



                                                 KIMBERLY ACEVEDO
                                                 JOSEPH ROSENBAUM
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                                                 GLORIA YANETTE7IMENEZ
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